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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISON

ALEXANDRA LOZANO IMMIGRATION                       §
LAW, PLLC,                                         §
       Plaintiff,                                  §
 v.                                                §     Civil Action No. 4:24-cv-02190
                                                   §
JUAN PABLO DIAZ CUENCA and                         §
MENESES LAW, PLLC                                  §
                                                   §
         Defendants.                               §



  AMENDED AGREED EXPEDITED DISCOVERY ORDER AND BRIEFING SCHEDULE


       Before the Court is a Proposed Agreed Expedited Discovery Order and Briefing Schedule.

Based on the joint position of the parties, the Court has determined that entry of the proposed order

is appropriate.

       Therefore, the Court hereby ORDERS that the Agreed Expedited Discovery Order and

Briefing Schedule, it is ORDERED as follows:

August 2nd             DISCOVERY REQUESTS. Parties may serve written discovery requests.
                       Requests for production are limited to 10 per Party. Interrogatories are
                       limited to 5 per Party.

August 16th            DISCOVERY RESPONSES. Parties to serve responses and objections to
                       all discovery requests and produce responsive documents.

September 20th         EXPERT DISCLOSURES. Expert disclosures related to the preliminary
                       injunction motion shall be made in compliance with Federal Rule of Civil
                       Procedure 26(a)(2).

September 30th         DEPOSITIONS. All depositions must be completed. Depositions of lay
                       witnesses are limited to 10 hours in total per side. Depositions of experts
                       shall be limited to 2.5 hours per expert.

October 11th           DEFENDANTS’ RESPONSE TO MOTION FOR PRELIMINARY
                       INJUNCTION DUE. Meneses Law and Diaz must file their response to
                       Plaintiff’s preliminary injunction motion.
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October 21st       PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR
                   PRELIMINARY INJUNCTION DUE. Plaintiff must file its reply in
                   support of Plaintiff’s preliminary injunction motion.



      SIGNED this date:                          .




                                           Hon. Andrew S. Hanen




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